18-22827-rdd   Doc 9   Filed 06/22/18   Entered 06/22/18 11:33:24   Main Document
                                        Pg 1 of 9
18-22827-rdd   Doc 9   Filed 06/22/18   Entered 06/22/18 11:33:24   Main Document
                                        Pg 2 of 9
18-22827-rdd   Doc 9   Filed 06/22/18   Entered 06/22/18 11:33:24   Main Document
                                        Pg 3 of 9
18-22827-rdd   Doc 9   Filed 06/22/18   Entered 06/22/18 11:33:24   Main Document
                                        Pg 4 of 9
18-22827-rdd   Doc 9   Filed 06/22/18   Entered 06/22/18 11:33:24   Main Document
                                        Pg 5 of 9
18-22827-rdd   Doc 9   Filed 06/22/18   Entered 06/22/18 11:33:24   Main Document
                                        Pg 6 of 9
18-22827-rdd   Doc 9   Filed 06/22/18   Entered 06/22/18 11:33:24   Main Document
                                        Pg 7 of 9
18-22827-rdd   Doc 9   Filed 06/22/18   Entered 06/22/18 11:33:24   Main Document
                                        Pg 8 of 9
18-22827-rdd   Doc 9   Filed 06/22/18   Entered 06/22/18 11:33:24   Main Document
                                        Pg 9 of 9
